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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

              Plaintiffs,

      v.                                            Civil Action No. 1:21-cv-02130 (CJN)

HERRING NETWORKS, INC., et al.,

              Defendants.


                                 MEMORANDUM OPINION

       Plaintiffs Dominion and Staple Street sued Defendant Herring (the operator of One

America News Network) for defamation in connection with the 2020 presidential election. 1

Herring thereafter filed a third-party complaint against AT&T Services, claiming that AT&T

Services must cover Herring’s defense and indemnify it for any damages resulting from

Dominion’s suit. Herring also asserted counterclaims against Dominion and Staple Street, alleging

that they tortiously interfered with its business relationships and contracts. AT&T Services,

Dominion, and Staple Street all move to dismiss Herring’s claims against them. For the reasons

that follow, the Court grants the motions.

                                              I.

       1. The facts relevant to this opinion date back to 2013, when AT&T—the owner of a

“significant media business through its WarnerMedia division”—sought “to compete with Fox



1
 For the purposes of this opinion, “Dominion” refers to plaintiffs and counterclaim-defendants
US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation;
“Staple Street” refers to plaintiff and counterclaim-defendant Staple Street Capital LLC; and
“Herring” refers to defendants and counterclaim-plaintiffs Herring Networks, Inc., Charles
Herring, Robert Herring, Chanel Rion, and Christina Bobb.



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News Network with an alternative conservative-leaning network.” Am. Countercl. and Third-

Party Compl. (“Countercl.”) ¶¶ 35, 38, ECF No. 85. Herring stepped up by launching One

America News Network (“OAN”) at AT&T’s “urging.” Countercl. ¶ 38. A few years later, AT&T

acquired DIRECTV, “the country’s largest paid satellite TV provider.” Countercl. ¶ 36. And

Herring eventually entered into a contract (the “Affiliation Agreement”) with DIRECTV and

AT&T’s subsidiary, AT&T Services. Countercl. ¶ 41. The agreement covers topics including

confidentiality, non-disparagement, and indemnification. Countercl. ¶¶ 41, 48, 49.

       In November 2020, William Kennard was appointed the Chairman of AT&T’s Board of

Directors. Countercl. ¶ 81. He also served on AT&T’s Public Policy and Corporate Reputation

Committee. Countercl. ¶ 82. In addition to his roles at AT&T, Kennard was “a member of the

Operating Executive Board of Directors of Staple Street,” a private equity company “which is the

majority owner of” Dominion, a company that supplies voting systems and services in elections. 2

Countercl. ¶ 78.                                                               Countercl. ¶¶ 79, 80.

       Trouble regarding AT&T’s connection with OAN surfaced about a year into Kennard’s

tenure on AT&T’s Board. In October 2021, Reuters published an article titled “How AT&T helped

build far-right One America News.” Countercl. ¶ 101. “Immediately upon release of the Reuters

article, liberal organizations began publicly criticizing AT&T for its relationship with OAN.”

Countercl. ¶ 104. The NAACP, for example, “accused AT&T of causing ‘irreparable damage to



2
  Dominion denies that Kennard was ever “on any kind of Board of Directors” for Staple Street.
Dominion Corrected Mot. to Dismiss at 2, ECF No. 114. And Staple Street contends that Herring
has sued the wrong entity because “Staple Street Capital LLC” is “an entity that was voluntarily
canceled and has been defunct since 2017” and that it is instead “Staple Street Capital II LP” and
“Staple Street Capital II-A LP” that have an ownership interest in Dominion. Staple Street
Corrected Mot. to Dismiss at 1, 2, ECF No. 115. The Court assumes that the facts pleaded in the
counterclaim are true at this stage. But, as always, the Court’s recitation of alleged facts does not
indicate their veracity.



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our democracy’” and “demanded that AT&T de-platform OAN from DIRECTV.” Countercl. ¶¶

105, 114. Ultimately, DIRECTV “decided not to renew the Affiliation Agreement” with Herring,

dropping OAN. Countercl. ¶ 120.

         2. This litigation ultimately arose in August of 2021, when Dominion sued Herring for

defamation based on Herring’s statements that Dominion facilitated election fraud in the 2020

presidential election. Compl. ¶¶ 2–3, ECF No. 1; see also US Dominion, Inc. v. Herring Networks,

Inc., 639 F. Supp. 3d 143, 151 (D.D.C. 2022). Most of these statements were broadcast by OAN

on its cable channel. Dominion, 639 F. Supp. 3d at 151. A year and a half later, and as particularly

relevant here, Herring filed counterclaims against Dominion and Staple Street and a third-party

complaint against AT&T Services and Kennard. 3 See ECF No. 60.

         Herring’s claim against AT&T Services centers on the Affiliation Agreement. Herring

alleges that AT&T Services is contractually obligated to indemnify Herring because AT&T

Services “proximately caused” Dominion’s defamation suit against Herring when it breached the

contract’s non-disparagement provision. Countercl. ¶¶ 185–191. The breaches, Herring says,

occurred when Kennard and on-air personalities at CNN and HBO (then-owned by AT&T)

criticized Herring. Countercl. ¶¶ 56, 185–191. Herring alleges, for example,

                                           and that CNN hosts and HBO comedian John Oliver

questioned OAN’s scruples and impact on society. Countercl. ¶¶ 56–66, 70.

         Herring’s counterclaims against Dominion and Staple Street are for tortious interference.

Herring alleges that Dominion and Staple Street (acting through Kennard) caused DIRECTV to

not renew the Affiliation Agreement and caused AT&T and DIRECTV to breach the agreement’s

non-disparagement and confidentiality provisions. Countercl. ¶¶ 150–183.


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    Herring has voluntarily dismissed its claims against Kennard. See ECF No. 101



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       AT&T Services, Dominion, and Staple Street move to dismiss.

                                                 II.

       “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quotations omitted). A claim is facially plausible “when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Id. Although courts must accept as true all factual allegations in a

complaint, the same deference is not owed to legal conclusions. Id. Plaintiffs therefore cannot

rely on “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements.” Id. Nor are courts “bound to accept as true a legal conclusion couched as a factual

allegation.” Papasan v. Allain, 478 U.S. 265, 286 (1986).

                                               A.

       Herring’s contractual indemnity claim cannot survive AT&T Services’ motion to dismiss.

According to Herring, AT&T Services must cover its costs, attorney’s fees, and damages incurred

as a result of Dominion’s defamation suit. Herring’s theory is rooted in the Affiliation Agreement,

which states that AT&T Services “shall indemnify, defend and hold harmless . . . against and with

respect to any and all claims, demands, actions, or causes of action, damages, liabilities threatened

claims, costs and expenses . . . incurred in connection with any third-party claim . . . to the extent

arising out of [AT&T Services’] breach or alleged breach of any provision of this Agreement.”

Countercl. ¶ 185.      Herring alleges that “AT&T Services breached the non-disparagement

provision” of the Agreement because its representatives, such as Kennard and “representatives at

CNN and HBO” disparaged Herring. Countercl. ¶¶ 187, 188. And, according to Herring, these

breaches led to Dominion’s lawsuit. Countercl. ¶ 188.




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       The problem is that Herring does not plead facts tying Dominion’s lawsuit to the allegedly

disparaging statements. Thus, Herring has not plausibly pleaded that Dominion’s defamation suit

against Herring in any way “arose out of” the disparaging statements, as the contract requires.

       For starters, many of the disparaging statements to which Herring alludes were made after

Dominion sued Herring, undercutting Herring’s theory of causation. Dominion sued Herring in

August 2021. See ECF No. 1. But all of Kennard’s disparaging statements came several months

later, in October 2021, see Countercl. ¶¶ 68-71, and the same is true of many of the statements by

HBO’s and CNN’s on-air personalities, see Countercl. ¶¶ 62-65. The counterclaim identifies only

four instances of allegedly disparaging HBO- or CNN-affiliated comments that predate

Dominion’s suit against Herring. See Countercl. ¶¶ 57-59, 61. And some of those comments came

so far in advance that it is hard to believe they precipitated Dominion’s suit—for example, John

Oliver’s April 2020 statements on HBO about OAN’s “dirt stupid reporting,” Countercl. ¶ 61.

       More fundamentally, Herring has not pleaded a single fact plausibly linking the disparaging

statements and Dominion’s lawsuit. Nor has Herring presented any plausible theory for why

Dominion’s decision to sue Herring would have been influenced by those statements. To the

contrary, there are “[o]bvious alternative explanation[s]” for why Dominion sued Herring. Iqbal,

556 U.S. at 682. In fact, Herring’s own allegations point to two: profit and politics. Herring

alleges that Dominion’s lawsuit is the product of a “coordinated, well-financed scheme to build up

the ‘Dominion’ brand and weaponize it as a profit-making litigation machine while taking down

Herring (among others).”      Countercl. ¶ 15.       And it alleges that Dominion sued “based

on . . . viewpoint discrimination, political power, selfish profit motives, backroom handshake

shenanigans, and improper manipulation of government influence” and that Dominion acted to

“interfere with, disparage, and destroy viewpoints politically and financially detrimental to” it.




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Countercl. ¶ 13. As Herring points out, Dominion received $787.5 million from a similar suit it

filed against Fox. Countercl. ¶¶ 2, 87. In light of these allegations, it is hard to believe that

Dominion might have spared Herring if not for John Oliver’s jokes or the statements of CNN

reporters, especially when Herring fails to allege any fact suggesting that those statements played

any role at all.

        Further undermining the plausibility of Herring’s story of causation is the fact that OAN

was the subject of widespread critical coverage from outlets unaffiliated with AT&T. AT&T

Services cites several examples of withering coverage from the New York Times, Washington

Post, and Business Insider. 4 AT&T Services Mem. in Supp. of Mot. to Dismiss (“AT&T Br.”) at

13–14, ECF No. 113-1. Herring provides no reason why Dominion’s lawsuit would have been

triggered by AT&T-affiliated criticism of Herring rather than by similar aspersions from others.

        Herring barely attempts to overcome these hurdles. It does not dispute that it has not

“offer[ed] a single fact to explain why Dominion would have been influenced in any way by . . . the

alleged disparagement.” Herring Resp. to Mots. to Dismiss (“Herring Br.”) at 15–16, ECF No.

120 (quoting AT&T Br. at 1). Instead, Herring argues that it should be enough that it has

“plausibly suggest[ed] . . . that the disparaging comments . . . may have influenced to some degree

Dominion’s motives.” Herring Br. at 16. Unfortunately for Herring, it is black-letter law that such

speculation about mere possibilities cannot overcome a motion to dismiss. Iqbal, 556 U.S. at 679.

        None of this is to say that Herring was required to plead that the alleged disparaging

statements were the sole reason for Dominion’s suit. After all, the indemnification provision

obligates AT&T Services to indemnify Herring against third-party claims “to the extent arising



4
 The Court takes “judicial notice of the existence of [these] newspaper articles.” Sandza v.
Barclays Bank, 151 F. Supp. 3d 94,113 (D.D.C. 2015).



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out of [AT&T Services’] breach.” Countercl. ¶ 185 (emphasis added). But still, Herring was

required to plead facts rendering it plausible that Dominion’s suit was in some way influenced by

the disparaging statements. It failed to do so because “the well pleaded facts,” here “do not permit

the court to infer more than the mere possibility” of such a connection. Iqbal, 556 U.S. at 679.

       Changing tack, Herring argues that these arguments about causation simply serve to

mitigate damages, and that it should be allowed to proceed to recover nominal damages so long as

AT&T breached the contract in some way. Herring Br. at 14–15. This misses the point. Herring’s

failure to allege a link between the allegedly disparaging comments and Dominion’s suit means it

has failed to plausibly plead that AT&T Services is under any contractual obligation to indemnify

it. In essence, Herring proceeds as if it has brought a breach-of-contract suit against AT&T

Services based on violations of the non-disparagement provisions. But Herring’s counterclaim

contains no such theory, and Herring cannot amend its counterclaim through its briefing. See

Budik v. Ashley, 36 F. Supp. 3d 132, 144 (D.D.C. 2014).

                                              B.

       Herring’s tortious interference clams against Dominion and Staple Street do not survive

either. Even assuming that Herring was the victim of tortious interference, Herring must establish

that Dominion or Staple Street (the two relevant counterclaim defendants) is legally responsible

for it. Herring’s theory is that Kennard tortiously interfered with Herring’s relationship with

DIRECTV and AT&T while “at times, acting on behalf of” Dominion and Staple Street—i.e.,

acting as their agent—making Dominion and Staple Street liable for his actions. Herring Br. at 5.

But Herring’s well-pleaded facts do not plausibly support this Kennard-as-agent theory.

       “In determining whether one party (the agent) was acting on behalf of another party (the

principal),” D.C. courts look “to the facts of the relationship” and “examine[] several relevant




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factors, including control, contracts or agreements, and the words and actions of the principal.”

FDS Rest., Inc. v. All Plumbing Inc., 241 A.3d 222, 241 (D.C. 2020). This boils down to a two-

part test: “First the court must look for evidence of the parties’ consent to establish a principal-

agent relationship. Second, the court must look for evidence that the activities of the agent are

subject to the principal’s control.” Jackson v. Loews Washington Cinemas, 944 A.2d 1088, 1097

(D.C. 2008) (citations omitted). At the end of the day, control, or the lack thereof, is “usually”

“determinative.” Judah v. Reiner, 744 A.2d 1037, 1040 (D.C. 2000).

       Applying these standards, the Court concludes that Herring has failed to allege facts

indicating that Kennard acted as Dominion’s or Staple Street’s agent. In its brief, Herring does

not clearly lay out the allegations it thinks best supports its position. See Herring Br. at 3

(referencing “facts supplied by the Amended Counterclaim and the exhibits thereto” and “facts

pleaded here and the totality of the circumstances”). But even mining the 267-page counterclaim

and attachments for itself, the Court does not find sufficient support. The relevant allegations can

be roughly synthesized as follows:

           •   Kennard has ties to Dominion and Staple Street: He is a “founding investor” and
               “a member of the Operating Executive Board of Directors of Staple Street,”
                                            Countercl. ¶¶ 78-80.

           •   Kennard has ties to AT&T: He is “the board chairman for AT&T, sets the agenda
               for and directly formulates AT&T and its subsidiaries’ strategic policy.” Countercl.
               ¶ 53. Kennard “also sits on AT&T’s Public Policy and Corporate Reputation
               Committee, which has ‘the authority to review AT&T’s management of its
               brands.’” Countercl. ¶ 82.

           •   “OAN’s coverage of the 2020 presidential election upset [Dominion], Staple Street,
               and . . . Kennard.” Countercl. ¶ 8.

           •   Dominion and Staple Street have a financial interest in winning defamation
               lawsuits: Dominion and Staple Street made money from a defamation lawsuit
               against Fox regarding its coverage of the 2020 election. Countercl. ¶ 87. Dominion
               has filed defamation suits against others too for statements regarding the 2020
               election. Countercl. ¶ 93.


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required control does not exist. See Herring Br. at 5; Makins v. District of Columbia, 861 A.2d

590, 593 (D.C. 2004). Apparent authority arises “when the principal places an agent in a position

which causes a third person to reasonably believe the principal had consented to the exercise of

authority the agent purports to hold.” Id. at 594. Herring claims that “AT&T, Staple Street, and

Dominion’s actions installing Kennard in positions of influence within the companies would

reasonably lead third parties to conclude that agency relationships exist with Kennard.” Herring

Br. at 7–8.

       But this theory too misses the mark. It is implausible that DIRECTV (or whoever the

relevant third parties are—Herring does not specify) would have viewed Kennard’s allegedly

interfering acts as being on behalf of Dominion or Staple Street, rather than on behalf of AT&T or

himself. After all, Kennard was the chairman of AT&T’s Board and on AT&T’s Public Policy

and Reputation Committee and (when it came to DIRECTV) communicating to a company owned

by AT&T in the wake of public criticism of AT&T.

       Moreover, Herring’s pleadings indicate that Kennard’s connections to Dominion and

Staple Street were not widely known. According to Herring,



                            Countercl. ¶ 74. During Kennard’s tenure as Chair of AT&T’s Board

of Directors, there was no “information about . . . Kennard’s role as a member of Staple Street’s

Operating Executive Board of Directors” or “Staple Street’s investment in Dominion” on Staple

Street’s website. Countercl. ¶ 81. On top of that, “AT&T and Kennard have” made “information”

about Kennard’s connections to Dominion and Staple Street “difficult . . . to discover” and have

“repeatedly highlighted that Kennard is the ‘independent’ Chairman of the Board of Directors of

AT&T.” Countercl. ¶ 89. In light of these allegations, it is not plausible that third parties would




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                                           III.

       For the above reasons, the Court grants the motions to dismiss. An order will be entered

contemporaneously with this opinion.


DATE: April 1, 2024
                                                          CARL J. NICHOLS
                                                          United States District Judge




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